            Case 2:11-cv-00402-CMR Document 9 Filed 06/28/11 Page 1 of 1




                    UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ANGEL L. RIVERA,                              Case No.: 2:11-cv-402

               Plaintiff,
       v.

NCO FINANCIAL SYSTEMS,
INC.

               Defendant.

                              SATISFACTION OF JUDGMENT


       Kindly mark the judgment and demand for fees and costs in this matter as SATISFIED. It

is certified that there are no outstanding executions with any Sheriff or Marshall.

       THEREFORE, full and complete satisfaction of said judgment is hereby acknowledged

and the Clerk of Courts is hereby authorized and directed to make an entry of the full and

complete satisfaction on the docket of said judgment.



       Dated: June 28, 2011                   /S/ Craig Thor Kimmel
                                              Craig Thor Kimmel
                                              Attorney ID: 57100
                                              Kimmel & Silverman, P.C.
                                              30 E. Butler Pike
                                              Ambler, PA 19002
                                              Phone: (215) 540-8888
                                              Fax: (215) 540-8817
                                              Email: kimmel@creditlaw.com
